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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF OKLAHOMA

        MICHAEL BLAIR and DENISE BLAIR, et al.                   )
                                                                 )
                                           Plaintiffs,           )
        vs.                                                      ) CASE: 5:08-cv-00360-M
                                                                 )
        UNION PACIFIC RAILROAD COMPANY,                          )
        a Delaware corporation,                                  )
                                                                 )
                                           Defendant.            )

                                 PLAINTIFFS’ WITNESS LIST

       NAME                ADDRESS                          EXPECTED TESTIMONY

Michael Blair         c/o Plaintiffs’ counsel The inundation of plaintiffs’ property by floodwater on or
                                              about August 19, 2007; the damages to plaintiffs’ real and
                                              personal property; the physical, personal, emotional, and
                                              economic damages sustained by plaintiffs’; the value of
                                              plaintiffs’ property as detailed on reports prepared by
                                              plaintiffs’ experts.
Denise Blair          c/o Plaintiffs’ counsel Same as above
Gary Bengs            c/o Plaintiffs’ counsel Same as above
Kelly Bengs           c/o Plaintiffs’ counsel Same as above
Barry Bollenbach      c/o Plaintiffs’ counsel Same as above
Joyce Bollenbach      c/o Plaintiffs’ counsel Same as above
Shirlene Boutwell     c/o Plaintiffs’ counsel Same as above
Randy Boeckman        c/o Plaintiffs’ counsel Same as above
Brent Henderson       c/o Plaintiffs’ counsel Same as above
Randy Briscoe         c/o Plaintiffs’ counsel Same as above
Jesus Camarena        c/o Plaintiffs’ counsel Same as above
Danny Cantrell        c/o Plaintiffs’ counsel Same as above
Debra Cantrell        c/o Plaintiffs’ counsel Same as above
George Christian      c/o Plaintiffs’ counsel Same as above
LaWanna Christian     c/o Plaintiffs’ counsel Same as above
Kevin Kale            c/o Plaintiffs’ counsel Same as above
Richard Cofer         c/o Plaintiffs’ counsel Same as above
Earlene Cofer         c/o Plaintiffs’ counsel Same as above
William Cope          c/o Plaintiffs’ counsel Same as above
Kathy Cope            c/o Plaintiffs’ counsel Same as above
Frances Thiems        c/o Plaintiffs’ counsel Same as above
Carol Shilling        c/o Plaintiffs’ counsel Same as above
Alfredo Delgadillo    c/o Plaintiffs’ counsel Same as above



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Jan Denny           c/o Plaintiffs’ counsel   Same as above
Ricky Jacobs        c/o Plaintiffs’ counsel   Same as above
Rena Frair          c/o Plaintiffs’ counsel   Same as above
Carol Franklin      c/o Plaintiffs’ counsel   Same as above
Charles Free        c/o Plaintiffs’ counsel   Same as above
Gracie Free         c/o Plaintiffs’ counsel   Same as above
Kane Free           c/o Plaintiffs’ counsel   Same as above
Margarita Free      c/o Plaintiffs’ counsel   Same as above
Ricky Garner        c/o Plaintiffs’ counsel   Same as above
Anna Garner         c/o Plaintiffs’ counsel   Same as above
Don George          c/o Plaintiffs’ counsel   Same as above
Wilma George        c/o Plaintiffs’ counsel   Same as above
Wendell Prim        c/o Plaintiffs’ counsel   Same as above
John Gooden         c/o Plaintiffs’ counsel   Same as above
Gerald Harper       c/o Plaintiffs’ counsel   Same as above
Barbara Harper      c/o Plaintiffs’ counsel   Same as above
Danny Henry         c/o Plaintiffs’ counsel   Same as above
Marla Henry         c/o Plaintiffs’ counsel   Same as above
Gail Hill           c/o Plaintiffs’ counsel   Same as above
Matthew Huckins     c/o Plaintiffs’ counsel   Same as above
Gerald Jobe         c/o Plaintiffs’ counsel   Same as above
Larry Adams         c/o Plaintiffs’ counsel   Same as above
Tonya Raymond       c/o Plaintiffs’ counsel   Same as above
Lawrence Kraus      c/o Plaintiffs’ counsel   Same as above
Linda Kraus         c/o Plaintiffs’ counsel   Same as above
Claude Lann         c/o Plaintiffs’ counsel   Same as above
Ray Lindsey         c/o Plaintiffs’ counsel   Same as above
Robert Lindsey      c/o Plaintiffs’ counsel   Same as above
Mary Lindsey        c/o Plaintiffs’ counsel   Same as above
Steve Markus        c/o Plaintiffs’ counsel   Same as above
Vida Markus         c/o Plaintiffs’ counsel   Same as above
Donna Moreno        c/o Plaintiffs’ counsel   Same as above
Chuck Palmer        c/o Plaintiffs’ counsel   Same as above
Jose Munoz          c/o Plaintiffs’ counsel   Same as above
Donald Murray       c/o Plaintiffs’ counsel   Same as above
Jack Musick         c/o Plaintiffs’ counsel   Same as above
Charles Norbury     c/o Plaintiffs’ counsel   Same as above
Marla Ogilvie       c/o Plaintiffs’ counsel   Same as above
Carmen Ortega       c/o Plaintiffs’ counsel   Same as above
Bernard Padilla     c/o Plaintiffs’ counsel   Same as above
Genaro Padilla      c/o Plaintiffs’ counsel   Same as above
Servando Padilla    c/o Plaintiffs’ counsel   Same as above
Chris Palmer        c/o Plaintiffs’ counsel   Same as above
Elnora Yarbrough    c/o Plaintiffs’ counsel   Same as above
Michelle Clayton    c/o Plaintiffs’ counsel   Same as above


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Jimmy Pirtle            c/o Plaintiffs’ counsel   Same as above
Connie Pirtle           c/o Plaintiffs’ counsel   Same as above
Jerry Pittman           c/o Plaintiffs’ counsel   Same as above
Theresa Pittman         c/o Plaintiffs’ counsel   Same as above
Jack Pogue              c/o Plaintiffs’ counsel   Same as above
Beverly Pogue           c/o Plaintiffs’ counsel   Same as above
Daniel Baustert         c/o Plaintiffs’ counsel   Same as above
Shelley Blair           c/o Plaintiffs’ counsel   Same as above
Joyce Stuteville        c/o Plaintiffs’ counsel   Same as above
Richard Reynolds        c/o Plaintiffs’ counsel   Same as above
Boyd Ransom             c/o Plaintiffs’ counsel   Same as above
Johnnie Ruhl            c/o Plaintiffs’ counsel   Same as above
Jerry Standefur         c/o Plaintiffs’ counsel   Same as above
Thomas Standefur        c/o Plaintiffs’ counsel   Same as above
Deborah Sanders         c/o Plaintiffs’ counsel   Same as above
Jack Stuteville         c/o Plaintiffs’ counsel   Same as above
Walter Vickman          c/o Plaintiffs’ counsel   Same as above
Bonita Vickman          c/o Plaintiffs’ counsel   Same as above
Debra Waeger            c/o Plaintiffs’ counsel   Same as above
Terry Wallace           c/o Plaintiffs’ counsel   Same as above
Brian Walter            c/o Plaintiffs’ counsel   Same as above
Larry Wilson            c/o Plaintiffs’ counsel   Same as above
Kennetha Wilson         c/o Plaintiffs’ counsel   Same as above
Blaine T. Reely, PhD,   Monsoon Consultants       Flooding in Kingfisher County and the effect of
PE                      P O Box 3167              Defendant’s bridges, culverts, embankment and track on
                        Enid OK 73702             flooding in Kingfisher County
William M. Clark,       1830 Coventry Lane        Information regarding the financial condition of
PhD                     Oklahoma City, OK         Defendant and opinions concerning potential punitive
                        73120                     damages
Gary Miles              Casualty Consultants      Plaintiffs’ personal property damaged or lost due to the
                        Gary Miles, P.A.          2007 flood and the cost to repair or replace the property;
                        #8 Fawn Lane              methodologies used to determine replacement and/or
                        Ponca City, OK            repair of personal property.
                        74604
Preston Lay             Brendle & Company         Plaintiffs’ real property damaged in the 2007 flood and
                        7110 E. Alameda           the cost to repair the property; methodologies used to
                        Norman, OK 73070          calculate construction estimates and costs
Mike Miller             Miller Appraisal          The value of plaintiffs’ real property at the time of the
                        Services, LLC             flood; methodologies used to determine property values
                        541 Skyridge Trail        and prepare property appraisals
                        Noble, OK 73068
Finley Porterfield      Porterfield Surveying     Surveys conducted in Kingfisher County, Oklahoma
                        1104 W. Poplar Ave.       between September 2007 and February 2009; survey
                        Enid, OK 73703            techniques and methodology
Tim Jones               114 N. 8th                Water levels of Kingfisher Creek at bridge 377.8 on



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                      Kingfisher, OK         04/10/08
Randy Poindexter      City of Kingfisher     Conditions in Kingfisher and Kingfisher County during
                      301 N. Main            and after the 2007 flood; search and rescue efforts; affects
                      Kingfisher OK 73750    on residents and property.
Richard Reynolds      Same as above          City of Kingfisher’s contacts with Defendant regarding
                                             Defendant’s real property in the city of Kingfisher; efforts
                                             taken by the city to clean bridges, drainage structures and
                                             culverts after the 2007 flood
Steve Loftis          Same as above          2007 flood and its effect on the city of Kingfisher and its
                                             residents; emergency efforts taken by the city and county
Vince Hernandez       Executive Director     Role of the American Red Cross in responding to
                      American Red Cross     disasters; staffing for the 2007 Kingfisher flood
                      601 NE 6th St
                      Oklahoma City OK
                      73104
John Starr            American Red Cross     Conditions in Kingfisher following the 2007 flood;
                      601 NE 6th St          numbers and condition of residents applying for aid;
                      Oklahoma City OK       services provided by Red Cross
                      73104
Kathleen Hawkins      301 Vinnedge           Work done by the American Red Cross during floods;
                      Blackwell OK           affects of floods on residents and their property; dangers
                                             associated with floods
Danny Francis         Francis Enterprises    Condition of Kingfisher Creek in the area of Bridge 377.8
                      Rt 2 Box 83            following the 2007 flood; condition of UP drains and
                      Kingfisher OK 73750    culverts in Kingfisher OK following the flood; work
                                             performed by Francis Enterprises for City of Kingfisher
                                             following the 2007 flood.
Chris Vokt            Olsson Associates      Replacement Structure Recommendation Form dated
                      Omaha, Nebraska        4/11/08 re: Culvert 378.75, and all studies, reports and
                                             other work associated with or referenced therein;
                                             knowledge of UPRR’s 50 and 100 year standard hydraulic
                                             criteria
Joe Lileikis          9103 Balcones Club     10/04/89 Town Hall meeting in Kingfisher and topics
                      Austin, TX 78750       discussed in meeting; 10/06/89 memorandum re: meeting;
                                             actions taken by UP re: conditions discussed in meeting;
                                             UP policies and procedures.
Unidentified UP       Unknown at this time   Because the depositions of UP employees have not been
employees, past and                          completed, the exact testimony of UP employees is not
present                                      known at this time. It is expected that the following
                                             employees, and other employees yet to be identified, will
                                             testify regarding UP policies and procedures on the
                                             design, construction, inspection, and maintenance of
                                             bridges, culverts, and tracks; maintenance-of-way rules;
                                             environmental policies; company, industry, and federal
                                             railway standards and regulations; design, construction,
                                             and maintenance of structures in Kingfisher County.


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David Adams             UP                 Formerly Manager Bridge Maintenance and Director
                                           Bridge Maintenance – retired (named in culvert
                                           replacement form)
Mike Bruckner           UP                 Senior Manager Structural Design (named in culvert
                                           replacement form)
Dave Griffin            UP                 General Director of Maintenance & Way – Track Program
Tom Romero              UP                 Manager Track Maintenance
Dale Kreifels           UP                 Director Track Maintenance
Gary Rethman            UP                 Formerly Manager Track Projects; currently Director
                                           Track Projects
Bennie Joe Tull         UP                 Bridge Supervisor
Clay McManaman          UP                 Manager Track Maintenance
Matt Hubbard            UP                 Maintenance of Way Inspector
Tim Finnigan            UP                 Maintenance of Way Inspector
Gary Gott               UP                 Senior Claims Manager
Dan Miller              UP                 Formerly Director Track Maintenance; currently Manager
                                           of Special Projects Industry and Public Projects
Dale Pecaut             UP                 Director Track Maintenance – retired
P. E. Jacquinot         UP                 Maintenance Engineer Track – retired
Mike Patchett           UP                 Formerly Manager Bridge Maintenance; currently
                                           Manager Bridge Construction
John Horney             UP                 Formerly Bridge Engineer, Construction Engineer Bridges
                                           – retired
Jerry Butler            UP                 Formerly Director Bridge Maintenance; currently Director
                                           Bridge Construction
Tomasz Gawronski        UP                 Director Bridge Maintenance
Eric Epps               UP                 Manager Bridge Maintenance
J. R. Beran             UP                 Chief Engineer Design – retired
Gene Groves             UP                 Formerly Engineer Structures, Construction Engineer
                                           Structures, and Maintenance Engineer Structures – retired
Donald Steele           UP                 Formerly Manager Structures, Manager Project Design,
                                           and Manager Bridge Construction – retired
Brennan Bannion         UP                 Chief Engineer
Jerry Rugg              UP                 Chief Engineer – retired
Ronnie Taylor           UP                 Section Foreman
William L. Hammond      UP                 Formerly Senior Structure Designer; currently Manager of
                                           Environmental Field Operations.
Darrell Deterding       UP                 Director of Structural Design – retired
Charles Felkins         UP                 Engineering and Project Manager




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                       Respectfully submitted,



                       __s/Bradley A. Gungoll
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                       Attorneys for Plaintiffs




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                           CERTIFICATE OF DELIVERY

       I hereby certify that on the 2nd day of April, 2009, a true and correct copy of the
foregoing document was sent to the following parties via facsimile, email, and/or
postage-prepaid First Class mail:


Robert D. Hart
Christopher D. Wolek
Laura Eakens
Gibbs Armstrong Borochoff Millican & Hart, P.C.
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                                                      s/Bradley A. Gungoll




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